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1




                                                FILED     FIRST JUDICIAL DISTRICT
                                                                     Administrator
                                                DAKOTA COUNTY, Court
                                                                                      DISTRICT COURT
    STATE OF MINNESOTA                                  JUN 02 2025

    COUNTY OF DAKOTA                                                        FIRST JUDICIAL DISTRICT

                                                                            Case Type: Civil/Others/Misce.


    Damien Lashaun Nelson                                          Court File No:

                    Plaintiff,
                                                                                              SUMMONS



    Burnsville Police Department and
    Detective Brad Robert Litke, Officer
    Nickolas Larson, Ray Gutzman, Police
    Officers John Doe and Jane Doe 1-3,
    Burnsville Employees; whose identities
    are presently unknown to Plaintiff, in
    their individual and Official Capacities,
                  Defendant(s).


KNOWN CONTACT INFORMATION for Defendant:


Name: 1. Burnsville Police Department

            100 Civic Center Parkway.

          Burnsville, Minnesota 55337
            Phone (952)-895-5600


    2. Detective Bradley (Brad) Litke

           100 Civic Center Parkway.

           Burnsville, Minnesota 55337
            Phone (952)-895-5600




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3. Officer Nick Larson

         100 Civic Center Parkway.

         Burnsville, Minnesota 55337
          Phone (952)-895-5600
and/or Address:

City:                State:                Zip code:
Phone:


4. Officer Ray Gutzman

         100 Civic Center Parkway.

         Burnsville, Minnesota 55337
          Phone (952)-895-5600
and/or Address:

City:                 State:               Zip code:
Phone:




THIS SUMMONS IS DIRECTED TO ALL LISTED AND UNLISTED
DEFENDANT(S).



   1.   YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The

        Plaintiff's Complaint against you is attached to this Sammons. Do not throw

        these papers away. They are official papers that affect your rights. You Must




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      respond to this lawsuit even though it may not yet be filed with the Courts

      and there may be no Court file number on this Summons.

2.   YOU MUST REPLY WITHIN 21 DAYS TOO PROTECT YOUR RIGHTS.

     You must give or mail to the person who signed this summons a written response

     called an Answer within 21 days of the date on which you received this Summons.

     You must send a copy of you Answer to the person who signed this Summons

     located at:

     Damien Lashaun Nelson
     970 Pickett Street North
     Bayport, Minnesota 55003-1489 USA

3.   YOU MUST RESPOND TO EACH CLAIM. The Answer is your written

     response to the Plaintiff's Complaint. In your Answer you must state whether you

     agree or disagree with each paragraph of the Complaint. If you believe the

     Plaintiff should not be given everything asked for in the Complaint, you must say

     so in your Answer.

4    YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN

     RESPONSE TO THE COMPLAINT, TO THE PERSON WHO SIGNED

     THIS SUMMONS. If you do not answer within 21 Days, you will lose this case.

     If you do not want to contest the claims as stated in the Complaint, you do not

     need to respond. A default judgement can be entered against you for the relief


     requested in the Complaint.




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5.   LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do
     not have a lawyer, the Court Administrator may have information about the places

     you can get legal assistance.

6.   ALTERNATE DISPUTE RESOLUTION (ADR). The parties may agree to or
     be ordered to participate in an alternate dispute resolution process under Rule 114

     of the Minnesota General Rules of Practice. You must still send your written

     response to the Complaint even if you expect to use alternate means of resolving

     this dispute.


                                                       Is/ Damion a4Lashaun Nelson


     Dated: May 23" 2025                           Damien Lashaun Nelson
                                                 970 Pickett Street North
                                            Bayport, Minnesota 55003-1489 USA
     I, the undersigned, herby affirm under penalty of perjury that the above and

     foregoing statements are true and correct.

     Subscribed and affirmed on this 23 day of May 2025.

                                                       's) Damien Lashaun Nelson


                                                   Damien Lashaun Nelson
                                                     970 Pickett Street North
                                                Bayport, Minnesota 55003-1489 USA
                                           Email: Damien.Lashaun1989@Gmail.com
                                            Phone No. (901)-653-4522




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                                  FILED      FIRST JUDICIAL DISTRICT
                                                       Administrator
                                  DAKOTA COUNTY, Court

STATE OF MINNESOTA                                                         DISTRICT COURT
                                          JUN 09.2025
COUNTY OF DAKOTA                                                 FIRST JUDICIAL DISTRICT

                                                                  Case Type: Civil/Others/Misc.



Damien Lashaun Nelson                                 Court File No: 19HA-CV-25-

                 Plaintiff,

                                                                       COMPLAINT AND
                                                                 DEMAND FOR JURY TRIAL

Burnsville Police Department and
Detective Brad Robert Litke, Officer
Nickolas Larson, Ray Gutzman, Police
Officers John Doe and Jane Doe 1-3,
Burnsville Employees; whose identities
are presently unknown to Plaintiff, in
their individual and Official Capacities,
              Defendant(s).



Plaintiff for His Complaint, Plaintiff Damien Lashaun Nelson, by and through
himself, and or Attorneys, Legal Assistance(s) Against the Defendant(s), The
Burnsville Police Department and Detective Brad Robert Litke, Officer Nickolas
Larson, Ray Gutzman, Police Officers John Doe and Jane Doe 1-3, Burnsville
                                                                in their individual
Employees; whose identities are presently unknown to Plaintiff,
and Official Capacities, States and Alleges as Following:




                                 INTRODUCTION:

   1.   This Civil Action is Brought by the Plaintiff, Damien Lashaun Nelson, against

        the Defendants for the Unlawful Seizure of Personal Property without a

        Search Warrant. The Defendants seized Property from the Plaintiff's Home




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   in Burnsville Minnesota, On August 6" 2020, including Phones, Electronics,

   and Other Personal Items. As A result of these Actions, The Plaintiff suffered

   Mental Anguish, Pain and Suffering, Emotional Distress, and Loss of Wages.

                                   Parties

   Plaintiff: Damien Lashaun Nelson ("Damien Lashaun") an individual residing

   in Bayport, and Washington County, Minnesota.




2. Defendant: Burnsville Police Department is a municipal police department

   located in Burnsville Dakota County, Minnesota.


3. Defendant: Detective Bradley ("Brad") Litke is a Detective employed by the

   Burnsville Police Department, with duties including evidence handling and

   case management. Detective Litke is sued in his official and individual

   capacities.


4. Defendant: Officer Nickolas Larson was a law enforcement officer employed


   by the Burnsville Police Department, with duties were at all times relevant to

   this complaint and whom were acting Police Officer of the Burnsville Police

   Department, Officer Nick Larson is sued in his official and individual

   capacities.




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5.   Defendant: Officer Ray Gutzman is a law enforcement officer employed by

     the Burnsville Police Department, with duties were at all times relevant to

     this complaint and whom were acting Police Officer of the Burnsville Police

     Department, Officer Ray Gutzman is sued in his official and individual

     capacities.

6. Defendants John and Jane Does 1-3 are Police Officers and/or Burnsville City


     Employees whose identities are presently unknow to the Plaintiff and are

     being sued in their official and individual capacities.




                                       Jurisdiction

     This Court has Subject-Matter Jurisdiction pursuant to Minn. Stat. § 484. 01,

     as the acts and omissions complained of occurred in Dakota County,

     Minnesota and applicable federal laws.



                                           Venue

     Venue is Proper under Dakota County under Minn. Stat.§ 542.09 because the

     events giving rise to this action occurred in this County. This action is best

     resolved in the County of Dakota.




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                                       FACTUAL ALLEGATION:


1.   On or about August 60 2020, Defendants unlawfully entered the Plaintiff's home

     without a search warrant and seized personal property, including iPhone,

     Electronics, and other items.

2.   The Plaintiff was not provided with any Justification for the Seizure and was not

     given the opportunity to retrieve his Property.

3    The unlawful actions of the Defendants have caused the Plaintiff to suffer significant

     mental anguish, pain and suffering, emotional distress, and loss of wages.

4. Plaintiff was mentally incapacitated during the relevant time period and could not bring
     this lawsuit within the standard limitations period due to his mental health conditions,
     including severe Depression, Major Depressive Disorder with psychotic features,
     schizophrenia, suicide ideations, etc. which lead to his suicide attempts in late 2020 and
     2023.


5. Plaintiff now brings this action within the extended limitations period provided under the
     Minn. Stat. § 541.15 (a) for individual with mental illness.



6.   As a result of Defendants actions, Plaintiff suffered loss of access to his trade secrets,

     digital assets, email accounts, business accounts, and music, which has caused

     significant damages to his business and wept anon,

x




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                                CLAIMS FOR RELIEF:



        COUNT T 1: VIOLATION OF FOURTH AMENDMENT RIGHT:

   1.   Plaintiff incorporates by reference the preceding paragraph as though

        fully set forth herein.

   2.   The Seizure of The Plaintiff's Property without a warrant Constitutes

        a Violation of The Fourth Amendment of the United States

        Constitution.

                       COUNT 2: BREACH OF STATE LAW:

        1.   Plaintiff incorporates by reference the preceding paragraph as

             though fully set forth herein.

        2.   The Defendants' action violated Minnesota Statutes related to the

             Unlawful Search and Seizure.




COUNT 3: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS:

             1.   Plaintiff incorporates by reference the preceding paragraph as

                  though fully set forth herein.

             2.   The Defendants acted in a manner that was extreme and

                  outrages, causing severe emotional distress to Plaintiff.




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                                   COUNT 4: NEGLIGENCE:

                  1.   Plaintiff incorporates by reference the preceding paragraph as

                       though fully set forth herein.

                  2.   The Defendants failed to exercise reasonable care in the

                       execution of their duties, leading to the Unlawful Seizure of the

                       Plaintiffs Property.




                                              DAMAGES


As a direct result of Defendants actions Plaintiff has suffered Damages, including

but not limited to:


   1.   Mental Anguish

   2.   Pain and Suffering

   3. Emotional Distress

   4. Loss of Wages

   5.   Economic losses associated with unauthorized release of trade secrets, digital

        funds, and intellectual property;

   6. Loss of access to business and email accounts, resulting in Damages to

        Plaintiff business operations;

   7.   Emotional Distress from the loss of confidential and personal property;




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  8. Damage to Plaintiffs business reputation; and

  9.    Attorney and legal assistance fees and costs as permitted by law.

  10. The Plaintiff is seeking damages in the amount of $40.5 Million for the harm

        suffered as a result of the Defendants' Unlawful actions.




                                       Prayer for Relief

        Wherefore, Plaintiff, individually defined herein, prays for relief as follows:


A. Judgement against the Defendants for $10.5 Million in Damages, Including:

  e     Lost revenue from missed business opportunities.

  e     Cost associated with delays and legal fees.

B. Compensatory Damages in an amount to be determined at trial, including

      Damages for the value of the property, trade secrets, digital funds, and other

      confidential information wrongfully taken;

C. Punitive Damages as permitted by law, due to the reckless and intentional

      nature of Defendants conduct;

D. Public apology and retraction statement to be made by Defendant(s).

E. Any further relief the court deems just and equitable.

F. Declarative relief.

G. Cost.

H. Attorney fees.




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 I. Legal Assistance Fees aside from Attorney fees costs incurred in pursing this

    action;




                                     Jury Demand

Plaintiff demands a trial by jury of all issues triable pursuant to Rule 38 of the

Federal Rules of Civil Procedures.




Dated: May 23" 2025                                /s/ Damien            Nelson

                                                   Signed under the penalty of perjury


                                                         Damien Lashaun Nelson
                                                         Pro Se

                                                                Temp. Mailing Address
                                                        970 Pickett Street N.

                                                       Bayport, Minnesota 55003-1489
                                            Email: Damien.Lashaun1989@gmail.com
                                                             Phone No. (901).653.4522




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                                 Acknowledgement

The above hereby Acknowledges that cost, disbursements, and witness fee may be

awarded pursuant to Minnesota statute Section 549.211, Subdivision 3 to the party

against whom the allegation in the pleading are asserted.




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                                                                                           Filed in District Court
                                                                                           State of Minnesota
                                                                                           6/2/2025
State of Minnesota                                                                              District Court
Dakota County                                                                           First Judicial District
                                                                       Court File Number: 19HA‐CV‐25‐3514
                                                                                 Case Type: Civil Other/Misc.
                                                                          Deficiency Notice – Civil Case

DAMIEN LASHAUN NELSON
MCF STILLWATER
OID# 243200
970 PICKETT STREET N
BAYPORT MN 55003

DAMIEN LASHAUN NELSON vs Burnsville Police Department, Officer Brad Robert Litke, Officer Nick Larson,
Officer Ray Gutzman, Police Officers John Doe and Jane Doe 1‐3, Burnsville Employees; whose identies are
presently unknown to Plaintiff in their individual and Official Capacities


Return of Documents:
     Your       is being returned at the discretion of the judge / judicial officer.
     You previously filed these documents electronically. The originals are not to be filed but must be
     maintained by you to be made available to the court or any party upon request (Rules of Civil
     Procedure 5.05).
     These documents are required to be filed through eFile and Serve (eFS) (General Rules of Practice
     14.01).


Rejection of Documents (Rules of Civil Procedure 5.04):
     Documents submitted to the wrong court for filing.
     Incorrect court file number.
     No or insufficient filing fee. The fee to file is $   .
     Discovery submission not authorized by court, and there is no court rule permitting the submission.
     The document(s) contain a restricted identifier or other non‐public information submitted in violation
     of Rules 11.02, 11.03, or 11.04 (Rules of Civil Procedure 5.04(4)).
          You submitted public document(s) that contain restricted identifiers (such as social security
     numbers, employer identification numbers, and financial account numbers). The restricted identifiers
     must be redacted from the document(s). You must resubmit the redacted document(s) and submit
     the restricted identifiers on Confidential Information Form 11.1.
         You submitted non‐public document(s) (such as a W‐2, pay stubs, bank statements, and tax
     returns) without the Cover Sheet for Non‐Public Documents (Form 11.2). You must re‐submit the
     non‐public documents along with the Cover Sheet for Non‐Public Documents (Form 11.2).


We are Unable to Provide the Requested Service:
    Judgment cannot be docketed without an Affidavit of Identification of Judgment Debtor.

MNCIS‐CIV‐120                         STATE   Deficiency Notice                              10/23


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     You have requested attorney fees. You must submit a proposed order and required supporting
     documentation.
     The original Note/Draft/Bill of Exchange is required (Rules of Civil Procedure 55.01(e)).
     No or insufficient fee. The fee for this service is $    .
     Other:        .


Your document(s) has / have been accepted, but the following issues have been identified and need to
be corrected. Please respond promptly.
     At your court appearance          Judge / Judicial Officer        directed you to file        by
     date. The document(s) has/have not been filed and the judge / judicial officer has determined               .
     There has been no activity in this case since         . Please advise of status or intended action within
     30 days of this notice.
     You filed a document by fax on         , a fax fee of $25 is due within seven days of filing in addition to
     any fees noted above.
     Document(s) is / are not signed.
     The document(s) submitted is / are of poor quality, illegible, or otherwise unusable, as follows:           .
     Another version of the document(s) (may / must) be submitted.
     Other: Missing Affidavit of Service for each defendant. Also, please file a civil cover sheet per Minn.
     Gen. R. Prac. 104.


Your document(s) has / have been accepted, but the document security has been changed.
     You filed a document on            as a non‐public document. Your document(s) has / have been accepted,
     but the document security that you incorrectly designated as confidential or sealed has been changed to
     public. Review the Rules of Public Access to Case Records and the Access to Case Records Table for
     information on what court filings are considered non‐public. Court records are presumed public unless
     there is a statute, court rule, or court order that allows a filing to be treated as confidential or sealed. If
     e‐Filing documents, consult the list of filing codes within the Civil Case Type Index (includes civil, family,
     and probate case types) to find the appropriate filing code. The Civil Case Type Index can be accessed at
     www.mncourts.gov/efile and then click the “eFile and eServe Resources” tab.
     You filed a Confidential Information Form 11.1 or Cover Sheet for Non‐Public Documents (Form 11.2) on
             with the intent to keep information non‐public when there is no basis to do so and that
     information must be publicly accessible under court rules. Form 11.1 must only be used for filing
     restricted identifiers as set forth under Minn. Gen. R. Prac. 11. Form 11.2 must only be used when
     submitting non‐public documents. There must be specific legal authority that authorizes the
     classification of a document as non‐public. Both Form 11.1 and Form 11.2 have limited purposes and
     they cannot be used as a means to treat public information or documents as non‐public.

      A filer must first ask the court to approve their request to submit a document for filing as “confidential”
      or “sealed” unless that document is a non‐public document under court rules, court order, or other
      applicable law. See Minn. Gen. R. Prac. 11.04; 14.06. If no such rule, statute, or court order exists, the
      information is public.

                                                Dakota County District Court

MNCIS‐CIV‐120                           STATE   Deficiency Notice                                10/23


                                                   EXHIBIT E
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                                                  1560 Highway 55
                                                 Hastings MN 55033

Make checks for payment of fees to Court Administrator. Please do not mail cash. Note file number on check.
We will proceed to process this matter for you when any deficiencies as noted above have been resolved.
Refer to www.mncourts.gov for forms and instructions.
If your case is heard by the Court and you did not pay your fees, those fees that are owed and unpaid may be
referred for collection and collection costs.
If the matter proceeds without payment of a required fee, the court may refer the fee for collection and
collection costs will be added. Minn. Stat. § 480.15, subd. 10c.

Dated: June 02, 2025                                Maria King
                                                    Court Administrator
                                                    Dakota County District Court
                                                    651‐377‐7180
CC: DAMIEN LASHAUN NELSON




MNCIS‐CIV‐120                        STATE   Deficiency Notice                            10/23


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     CASE 0:25-cv-02794-KMM-DLM                        Doc. 1-5         Filed 07/08/25   PageFiled
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         Officer Nick Larson, Officer Ray Gutzman, Police Officerts John Doe and
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         Jane Doe 1-3, Burnsville Employees; whose identities are presently

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     CASE 0:25-cv-02794-KMM-DLM                      Doc. 1-5       Filed 07/08/25   Page 23 of 35




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     CASE 0:25-cv-02794-KMM-DLM              Doc. 1-5     Filed 07/08/25     Page 24 of 35


                                                                               Filed in District Court
                                                                               State of Minnesota
                                                                               6/3/2025
State of Minnesota                                                                     District Court
Dakota County                                                                  First Judicial District
                                                              Court File Number: 19HA‐CV‐25‐3514
                                                                        Case Type: Civil Other/Misc.

                                                                    Notice of Filing of Order
FILE COPY




DAMIEN LASHAUN NELSON vs Burnsville Police Department, Officer Brad Robert Litke, Officer
Nick Larson, Officer Ray Gutzman, Police Officers John Doe and Jane Doe 1‐3, Burnsville
Employees; whose identities are presently unknown to Plaintiff in their individual and Official
Capacities


You are notified that on June 02, 2025, the following was filed:

                  Order Granting Fee Waiver



Dated: June 3, 2025                             Maria King
                                                Court Administrator
                                                Dakota County District Court
                                                1560 Highway 55
                                                Hastings MN 55033
                                                651‐377‐7180

cc: DAMIEN LASHAUN NELSON

A true and correct copy of this notice has been served pursuant to Minnesota Rules of Civil
Procedure, Rule 77.04.




                                        EXHIBIT E
      CASE 0:25-cv-02794-KMM-DLM              Doc. 1-5     Filed 07/08/25      Page 25 of 35
                                                                                Filed in District Court
                                                                                 State of Minnesota
                                                                                     06/03/2025

 STATE OF MINNESOTA                                                           DISTRICT COURT

 DAKOTA COUNTY                                                      FIRST JUDICIAL DISTRICT

                                                 Court File Numbers:            19HACV-24-5704
                                                                                19HACO-25-264
                                                                                19HACV-25-3514
 Damien Lashaun Nelson
 v.
 Burnsville Police Dept., Bradley Litke
 _______________________________
                                                   ORDER FOR JUDICIAL ASSIGNMENT
 Damien Lashaun Nelson
 v.
 Shea Leann Lachman aka Shea Leann
 Toombs
 __________________________________
 Damien Lashaun Nelson

 v.
 Burnsville Police Department, Officer Brad
 Robert Litke, Officer Nick Larson, Officer
 Ray Gutzman, Police officers John Doe and
 Jane Doe 1-3, Burnsville Employees; whose
 identities are presently unknown to Plaintiff
 in their individual and Official Capacities


This matter came administratively before the undersigned as Assistant Chief Judge of the First
Judicial District. Files 19HACV-24-5704 and 19HACO-25-264 were previously assigned to
Judge Marks, who has been removed by Defendants. The undersigned has further reviewed the
files and notes that a new file (19HACV-25-3514) has been opened involving the same parties.
Due to the fact that the Plaintiff is in custody and for judicial efficiency as the files have many
parties and issues in common, they should be assigned to a single judge.
                                                 ORDER
      1. Court Files 19HACV-24-5704, 19HACO-25-264, 19HACV-25-3514 shall be assigned
          to Judge Luis Morales.


 Dated:    June 3, 2025                             BY THE COURT



                                                    Christopher J. Lehmann
                                                    Judge of District Court



                                          EXHIBIT E
    CASE 0:25-cv-02794-KMM-DLM              Doc. 1-5    Filed 07/08/25       Page 26 of 35
     State of Minnesota
    First Judicial District                                             Maria King
 Dakota County District Court                                        Court Administrator
 www.co.dakota.mn.us/courts                                          Filed in District Court
                                                                      State of Minnesota
                                                                          06/05/2025

June 05, 2025


File Copy




RE: DAMIEN LASHAUN NELSON vs Burnsville Police Department, Officer Brad Robert
    Litke, Officer Nick Larson, Officer Ray Gutzman, Police Officers John Doe and Jane Doe
    1-3, Burnsville Employees; whose identities are presently unknown to Plaintiff in their
    individual and Official Capacities
    Dakota County File # 19HA-CV-25-3514


Dear File Copy:

The above-referenced matter has been assigned to the Honorable Luis Morales,
District Court Judge. All future hearings shall be scheduled before Judge Luis Morales.

Communication regarding all pending and future court dates will be handled by the assigned
judge team. Please refer to the assigned Judge when calling Court Administration.

Mandatory eFiling for attorneys and government agencies is effective July 1, 2015. Upon receipt
of this notice you must immediately register for e-service.


Sincerely,
Dakota County District Court
Scheduling Division
1560 Highway 55 W
Hastings, MN 55033
651-377-7180


cc: Judge Luis Morales
    DAMIEN LASHAUN NELSON
    Burnsville Police Department
    Brad Robert Litke
    Ray Gutzman
    Nick Larson




                                        EXHIBIT E
CASE 0:25-cv-02794-KMM-DLM   Doc. 1-5   Filed 07/08/25   Page 27 of 35




                         EXHIBIT E
     CASE 0:25-cv-02794-KMM-DLM              Doc. 1-5     Filed 07/08/25     Page 28 of 35


                                                                               Filed in District Court
                                                                               State of Minnesota
                                                                               6/5/2025
State of Minnesota                                                                     District Court
Dakota County                                                                  First Judicial District
                                                              Court File Number: 19HA‐CV‐25‐3514
                                                                        Case Type: Civil Other/Misc.

                                                                    Notice of Filing of Order
FILE COPY




DAMIEN LASHAUN NELSON vs Burnsville Police Department, Officer Brad Robert Litke, Officer
Nick Larson, Officer Ray Gutzman, Police Officers John Doe and Jane Doe 1‐3, Burnsville
Employees; whose identities are presently unknown to Plaintiff in their individual and Official
Capacities


You are notified that on June 03, 2025, the following was filed:

                  Order‐Other



Dated: June 5, 2025                             Maria King
                                                Court Administrator
                                                Dakota County District Court
                                                1560 Highway 55
                                                Hastings MN 55033
                                                651‐377‐7180

cc: DAMIEN LASHAUN NELSON
    Burnsville Police Department
    Brad Robert Litke
    Ray Gutzman
    Nick Larson

A true and correct copy of this notice has been served pursuant to Minnesota Rules of Civil
Procedure, Rule 77.04.




                                        EXHIBIT E
                CASE 0:25-cv-02794-KMM-DLM            Doc. 1-5    Filed 07/08/25    Page 29 of 35



                                                                                           Filed in District Court
                                                                                           State of Minnesota
                                                                                           6/24/2025
State of Minnesota                                                                              District Court
Dakota County                                                                           First Judicial District
                                                                       Court File Number: 19HA-CV-24-5913
                                                                                          19HA-CV-24-5704
                                                                                          19HA-CV-25-3514
                                                                                            19HA-CO-25-264
                                                                                 Case Type: Civil Other/Misc.
                                                                          Deficiency Notice – Civil Case

FILE COPY

DAMIEN LASHAUN NELSON vs Burnsville Police Department


Return of Documents:
     Your       is being returned at the discretion of the judge / judicial officer.
     You previously filed these documents electronically. The originals are not to be filed but must be
     maintained by you to be made available to the court or any party upon request (Rules of Civil
     Procedure 5.05).
     These documents are required to be filed through eFile and Serve (eFS) (General Rules of Practice
     14.01).


Rejection of Documents (Rules of Civil Procedure 5.04):
     Documents submitted to the wrong court for filing.
     Incorrect court file number.
     No or insufficient filing fee. The fee to file is $   .
     Discovery submission not authorized by court, and there is no court rule permitting the submission.
     The document(s) contain a restricted identifier or other non-public information submitted in violation
     of Rules 11.02, 11.03, or 11.04 (Rules of Civil Procedure 5.04(4)).
          You submitted public document(s) that contain restricted identifiers (such as social security
     numbers, employer identification numbers, and financial account numbers). The restricted identifiers
     must be redacted from the document(s). You must resubmit the redacted document(s) and submit
     the restricted identifiers on Confidential Information Form 11.1.
         You submitted non-public document(s) (such as a W-2, pay stubs, bank statements, and tax
     returns) without the Cover Sheet for Non-Public Documents (Form 11.2). You must re-submit the
     non-public documents along with the Cover Sheet for Non-Public Documents (Form 11.2).


We are Unable to Provide the Requested Service:
    Judgment cannot be docketed without an Affidavit of Identification of Judgment Debtor.

MNCIS-CIV-120                         STATE   Deficiency Notice                              10/23


                                                 EXHIBIT E
                CASE 0:25-cv-02794-KMM-DLM              Doc. 1-5    Filed 07/08/25       Page 30 of 35


     You have requested attorney fees. You must submit a proposed order and required supporting
     documentation.
     The original Note/Draft/Bill of Exchange is required (Rules of Civil Procedure 55.01(e)).
     No or insufficient fee. The fee for this service is $    .
     Other: All parties are responsible for uploading their exhibits into MNDIS. See enclosed Standing
     Order and MNDES Guidelines .


Your document(s) has / have been accepted, but the following issues have been identified and need to
be corrected. Please respond promptly.
     At your court appearance          Judge / Judicial Officer        directed you to file        by
     date. The document(s) has/have not been filed and the judge / judicial officer has determined               .
     There has been no activity in this case since         . Please advise of status or intended action within
     30 days of this notice.
     You filed a document by fax on         , a fax fee of $25 is due within seven days of filing in addition to
     any fees noted above.
     Document(s) is / are not signed.
     The document(s) submitted is / are of poor quality, illegible, or otherwise unusable, as follows:            .
     Another version of the document(s) (may / must) be submitted.
     Other:


Your document(s) has / have been accepted, but the document security has been changed.
     You filed a document on            as a non-public document. Your document(s) has / have been accepted,
     but the document security that you incorrectly designated as confidential or sealed has been changed to
     public. Review the Rules of Public Access to Case Records and the Access to Case Records Table for
     information on what court filings are considered non-public. Court records are presumed public unless
     there is a statute, court rule, or court order that allows a filing to be treated as confidential or sealed. If
     e-Filing documents, consult the list of filing codes within the Civil Case Type Index (includes civil, family,
     and probate case types) to find the appropriate filing code. The Civil Case Type Index can be accessed at
     www.mncourts.gov/efile and then click the “eFile and eServe Resources” tab.
     You filed a Confidential Information Form 11.1 or Cover Sheet for Non-Public Documents (Form 11.2) on
             with the intent to keep information non-public when there is no basis to do so and that
     information must be publicly accessible under court rules. Form 11.1 must only be used for filing
     restricted identifiers as set forth under Minn. Gen. R. Prac. 11. Form 11.2 must only be used when
     submitting non-public documents. There must be specific legal authority that authorizes the
     classification of a document as non-public. Both Form 11.1 and Form 11.2 have limited purposes and
     they cannot be used as a means to treat public information or documents as non-public.

      A filer must first ask the court to approve their request to submit a document for filing as “confidential”
      or “sealed” unless that document is a non-public document under court rules, court order, or other
      applicable law. See Minn. Gen. R. Prac. 11.04; 14.06. If no such rule, statute, or court order exists, the
      information is public.

                                                Dakota County District Court

MNCIS-CIV-120                           STATE   Deficiency Notice                                 10/23


                                                   EXHIBIT E
                CASE 0:25-cv-02794-KMM-DLM           Doc. 1-5    Filed 07/08/25    Page 31 of 35


                                                  1560 Highway 55
                                                 Hastings MN 55033

Make checks for payment of fees to Court Administrator. Please do not mail cash. Note file number on check.
We will proceed to process this matter for you when any deficiencies as noted above have been resolved.
Refer to www.mncourts.gov for forms and instructions.
If your case is heard by the Court and you did not pay your fees, those fees that are owed and unpaid may be
referred for collection and collection costs.
If the matter proceeds without payment of a required fee, the court may refer the fee for collection and
collection costs will be added. Minn. Stat. § 480.15, subd. 10c.

Dated: June 24, 2025                                Maria King
                                                    Court Administrator
                                                    Dakota County District Court
                                                    651-377-7180
CC: DAMIEN LASHAUN NELSON




MNCIS-CIV-120                        STATE   Deficiency Notice                            10/23


                                                EXHIBIT E
                                            19HA-CV-25-3514
                                                                                                   Filed in District Court
     CASE 0:25-cv-02794-KMM-DLM                Doc. 1-5       Filed 07/08/25   Page 32 of 35         State of Minnesota
                                                                                                       7/7/2025 8:02 AM




      I                                 Dakota County Sheriff's office
                                                Civil Division
                                             1580 Highway 55
                                         Hastings, MN 55033-0247
                                               65L-43A-4780


                                     AFFIDAVIT OF SERVICE
                       ATTORNEY/COURT FILE#        : 19HACV253514

                                                     1,
            THOMAS, ANDREW; Special Duty Deputy; 160

                                        HEREBY CERTIFY THAT ON

                                       6lL7l2O25 41 l2:53:OO PM
                                              IN THE CITY OF
                            BURNSVILLE


                   IN THE SAID COUNTY OF DAKOTA                   STATE OF MINNESOTA

                           I DULY SERVED THE FOLLOWING DOCUMENT(S):

  SUMMONS, COMPLAINT AND DEMAND FOR JURY TRIAL

                                       UPON THE FOLLOWING PARTY:
                                              RAY GUTZMAN

                                BY PERSONALLY LEAVING A COPY WITH:


          a person of suitable age and discretion then residing therein at usual place of abode,

                                       AT THE FOLLOWING ADDRESS:
                        1OO CrVrC CENTER PKWY BURNSVTLLE, MN 55337


SERVED STAFF AT PD




                             THOMAS, ANDREW; Special Duty Deputy; 160




RECORD #i 27966L                 7   /3l2O2sEXHIBIT E Page 4 of 4                 CASE #: 25002799
                                      19HA-CV-25-3514
                                                                                         Filed in District Court
      CASE 0:25-cv-02794-KMM-DLM         Doc. 1-5       Filed 07/08/25   Page 33 of 35     State of Minnesota
                                                                                             7/7/2025 8:02 AM




                                  Dakota County Sheriff's Office
          I                               Civil Division
                                        1580 Highway 55
                                   Hastings, MN 55033-0247
                                         65r-438-4780


                               AFFIDAVIT OF SERVICE
                    ATTORNEy/COURT FILE#     : 19HACV253514

                                           I
          THOMAS, ANDREW; Special Duty Deputy; 160

                                   HEREBY CERTIFY THAT ON

                                   713/2()25 41 7:55:OO AM

                                        IN THE CITY OF
                        BURNSViLLE


                IN THE SAID COUNTY 65 DAKOTA                 STATE OF MINNESOTA

                       I DULY SERVED THE FOLLOWING DOCUMENT(S):

   SUMMONS, COMPLAINT AND DEMAND FOR JURY TRIAL

                                 UPON THE FOLLOWING PARTY:
                                        NICK LARSON

                          BY PERSONALLY LEAVING A COPY WITH:
                                        NICK LARSON

                                 AT THE FOLLOWING ADDRESS:
                    1OO CMC CENTER pKWy BURNSVILLE, MN 55337




                        THOMAS, ANDREW; Special Duty Deputy; 160




RECORD # : 2L9661          7   /3/202sEXHIBIT E Page 3 of 4                 CASE #: 25002799
                                        19HA-CV-25-3514
                                                                                           Filed in District Court
      CASE 0:25-cv-02794-KMM-DLM           Doc. 1-5       Filed 07/08/25   Page 34 of 35     State of Minnesota
                                                                                               7/7/2025 8:02 AM




                                    Dakota County Sheriff's Office
  a
                                            Civil Division
                                          1580 Highway 55
                                     Hastings, MN 55033-0247
                                           651-438-4780


                                 AFFIDAVIT OF SERVICE
                     ATTORNEY/COURT FILE#      : 19HACV253514

                                          I,
         THOMAS, ANDREW; Special Duty Deputy; 160

                                     HEREBY CERTIFY THAT ON

                                   6lL7l2025 41 12:56:OO PM
                                          IN THE CITY OF
                         BURNSVILLE


               IN THE SAID COUNTY OF DAKOTA                    STATE OF MINNESOTA

                        I DULY SERVED THE FOLLOW]NG DOCUMENT(S):

  SUMMONS, COMPLAINT AND DEMAND FOR ]URY TRIAL

                                   UPON THE FOLLOWING PARTY:
                             BURNSVILLE POLICE DEPARTMENT

                            BY PERSONALLY LEAVING A COPY WITH:



                                   AT THE FOLLOWING ADDRESS:
                     1OO CIVIC CENTER PARKWAY BURNSVILLE, MN 55337


SERVED STAFF AT PD




                          THOMAS, ANDREW; special Duty Deputy; 160




RECORD #: 219661             7   /3/202sEXHIBIT E Page 1 of 4                  CASE #: 25002799
                                         19HA-CV-25-3514
                                                                                                Filed in District Court
     CASE 0:25-cv-02794-KMM-DLM             Doc. 1-5       Filed 07/08/25   Page 35 of 35         State of Minnesota
                                                                                                    7/7/2025 8:02 AM




                                   Dakota County Sheriff s Office
                                           Civil Division
                                         1580 Highway 55
                                    Hastings, MN 55033-0247
                                          65L-438-4780


                               AFFIDAVIT OF SERVICE
                     ATTORNEY/COURT FILE#       : 19HACV2535 14

                                          I
         THOMAS, ANDREW; Special Duty Deputy; 150

                                    HEREBY CERTIFY THAT ON

                                  611712025 g 12:53:OO PItl

                                           IN THE CITY OF
                         BURNSVILLE


                IN THE SAID COUNTY 6P DAKOTA                    STATE OF MINNESOTA

                        I DULY SERVED THE FOLLOWING DOCUMENT(S):

   SUMMONS, COMPLAINT AND DEMAND FOR JURY TRIAL

                                  UPON THE FOLLOWING PARTY:
                                    BRADLEY ROBERT LITKE

                             BY PERSONALLY LEAVING A COPY WITH:

       a person of suitable age and discretion then residing therein at usual place of abode,

                                  AT THE FOLLOWING ADDRESS:
                     1OO CrVrC CEilTER PKWY BURNSVTLLE, MN 55337


SERVED STAFF AT PD




                          THOMAS, ANDREW; Special Duty Deputy; 150




RECORD #i 279661              713/2O2s
                                      EXHIBIT EPage 2 of 4                     CASE #: 25002799
